                Case 1:18-cr-00260-ABJ Document 1 Filed 08/31/18 Page 1 of 4




                            IN THE L]NITED ST.{TES DISTRICT COURT
                                FOR THE DISTRIC'T OF COLUMBIA

UNITED STATES OF AMERICA
                                                          CRTMINAL NO.      l8-   (ABJ)

                                                          Violation: 22 U.S.C. $$ 612 and
                                                          618(a)(1)

W. SAMUEL PATTEN,                                         (Foreign Agents Registration Act)

                     Defendant.




                                    CRIMINAL INFORMATION

         The United States Attomey for the District of Columbia and the National Security

Division of the U.S. Departrnent ofJustice charge that:

l       From in or around 2014 until in or around 2018, both dates being approximate and inclusive,

within the District of Columbia and elsewhere, the defendant W. SAMUEL PATTEN knowingly

and   willfully acted as an agent of a foreigrr principal, to wit, the Opposition Bloc (a Ukrainian

political party) and its members, without registering with the Attomey General, whose office in

the Department of Justice is located in the District of Columbia, as required by law.

2.      Beginning in or around 2O14 to tbe present, PATTEN worked with a Russian national

(Foreigner      A) on lobbying and political   consulting services. The two formed a company

(company A) in the United States, and were 50-50 partners. Beginning in or around 2015,

company         A,   among other things, advised the opposition Bloc and members        of that party,
including   a   prominent Ukraine oligarch (Foreigner B). company A performed political consulting

services, which involved work within Lrkraine as well as lobbying in the United States.
                                                                                        As part     of
company A's work, PATTEN travelled to Ukraine on numerous occasions, and met
                                                                             with
            Case 1:18-cr-00260-ABJ Document 1 Filed 08/31/18 Page 2 of 4



Foreigrrers A and B, and other foreigners. For this work, Foreigner B caused payments to be made

to Company A through an offshore Cypriot account. From in or around the spring of 201 5 through

in or around 2017, Company A received over $1,000,000 for its work for the Opposition Bloc aad

other l-Ikraine consulting work, a portion of which was received as a result of conduct which

violated the Foreign Agents Registration Act.

3.       As part of his work for Company A, PATTEN violated the Foreign Agents Registration Act

by contacting members of the United States legislative and executive branches as well as the

media. Such communications included efforts to set up meetings between Foreigners A and B

with Members of Congress and staff. PATTEN also drafted talking points for Foreigrer B for his

meetings on Capitol    Hill   as   well   as   talking points for Congressional staffers to use to convince

other Congressional Members and staff to meet with Foreigner             B. The activity was undertaken to

promote the interests of Foreigner B and the Opposition Bloc to infl uence United States policy. In

addition, during this time period, PATTEN and Foreigner                A   assisted Foreigner B   in drafting

periodic articles (e.g. "op-eds") targeted at the United States press.

4.       Specifically, PATTEN in coordination with Foreigner A worked on setting up meetings in

Washington, D.C., Iiom on or about January 19, 2015, through on or about Jantary 21,2015,

between Foreigner B and (a) Members of Congress and their staff              -   specifically, Senators on the

Foreign Relations Committee and Representatives on the House Committee on Foreign Affairs;

(b) the Executive Branch   - including officials       from the U.S. Department ofstate; and (c) numerous

members of the United States media. PATTEN also drafted and provided staffers with points                  of
discussion conceming Foreigner B and his message with respect to ukraine. As another example,

in or around May 2016, PATTEN and Foreigner A wrote a letter for Foreigrier B to use in lobbying

a   high-ranking member ofthe Department of State regarding recent developments on the Llkrainian



                                                         2
          Case 1:18-cr-00260-ABJ Document 1 Filed 08/31/18 Page 3 of 4



Central Election Commission, and requested the official's engagement on the issue.

5.    PATTEN also drafted op-ed pieces on behalf of Foreigner B and then placed them with

United States media. For instance, in or around Jantary 2017, PATTEN and Foreigner A drafted

an op-ed article on behalf ofForeigner B to address concems regarding LJkraine's ability to work

effectively with the new United States administration. PATTEN then attempted to get the op-ed

article placed with various United States media outlets. In or around February 2017, PATTEN

succeeded in having the op-ed article published in a national United States media   outlet. Prior to

the publication ofthe op-ed, PATTEN facilitated Foreigner B's signing the required United States

media outlet's license agreement.

6.    PATTEN knew at the time that he took all ofthe actions described above that the Foreign

Agents Registration Act required him to register in order to engage legally in such United States

activities for a foreign principal. PATTEN had previously filed under the Foreign Agents

Registration Act for another client. PATTEN and Foreigner A inquired of Foreigner B whether

Company A could file under the Foreign Agents Registration Act; Foreigner B said in substance

that he did not want them to register now, but they could eventually do so at an unspecified future




                                                3
         Case 1:18-cr-00260-ABJ Document 1 Filed 08/31/18 Page 4 of 4



date. As a result, PATTEN and Foreigner A never filed, timely or not, and continued to work for

and represent the Opposition Bloc and members     ofthat party, including Foreigner B.

(Violation of the Foreign Agents Registration Act, pursuant to Title         22,, Section 612 and
618(a)(1))


                                                     JESSIE K. LIU
                                                     United States Attomey


                                           Bv:
                                                     Michael C. DiLorenzo
                                                     Assistant United States Attomey

                                                     Scott A. Claffee
                                                     Trial Attomey
                                                     U.S. Department of Justice
                                                     National Security Division




                                              4
